           Case 1:16-cr-00069-LJO-SKO Document 803 Filed 05/16/19 Page 1 of 1

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                                   UNITED STATES DISTRICT COURT
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                             FOR THE EASTERN DISTRICT OF CALIFORNIA
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6     UNITED STATES OF AMERICA,                               1:16-cr-00069-LJO-SKO
7                              Plaintiff,                      ORDER REFERRING TO FEDERAL
                                                               DEFENDER’S OFFICE AND
8                       v.                                     SETTING BRIEFING SCHEDULE
                                                              (ECF No. 802)
9     JAMES YORK, et al.
10                             Defendants.
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            On May 10, 2019, Defendant Marvin Larry filed a pro se request related to the First Step Act,
13 P.L. 115-391. ECF No. 802. To efficiently process petitions under the First Step Act, the Court hereby

14 appoints the Federal Defender’s Office (“FDO”) to represent Defendant in this matter. Accordingly,

15          IT IS HEREBY ORDERED that the FDO shall have until June 25, 2019 to file a motion

     related to Defendant’s pro se request or notify the Court that it does not intend to file such a motion.
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     From the date of the FDO’s filing, the Government shall have 60 days to file a response to Defendant’s
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     motion. From the date of the Government’s filing, the FDO shall have 60 days to file a reply. The Clerk
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     of Court is DIRECTED to serve the FDO with a copy of this Order.
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20 IT IS SO ORDERED.

21      Dated:     May 15, 2019                               /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
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